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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA   §
                           §
     vs.                   §                               CRIMINAL No. H-17-118
                           §
SAMSON OLUGBENGA OYEKUNLE, §
   Defendant.              §

                     UNITED STATES MOTION TO DISMISS
                COUNTS TWO THROUGH FIVE OF THE INDICTMENT

TO THE HONORABLE JUDGE MELINDA HARMON:

       COMES NOW, the United States of America, by and through Ryan K. Patrick, United

States Attorney for the Southern District of Texas, and Suzanne Elmilady, Assistant United States

Attorney, hereby moves this Court for dismissal of Counts Two through Five of the Indictment

against SAMSON OLUGBENGA OYEKUNLE without prejudice.

                                                           Respectfully submitted,

                                                           RYAN K. PATRICK
                                                           United States Attorney
                                                           Southern District of Texas

                                                           /s/ Suzanne Elmilady
                                                           Suzanne Elmilady
                                                           Assistant United States Attorney
                                                           1000 Louisiana, Suite 2300
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                                                           (713) 567-9574
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                               CERTIFICATE OF SERVICE

       I hereby certify that I have delivered a copy of the above document to counsel for

defense, Eric Ashford, by email on April 30, 2018.


                                                           _/s/ Suzanne Elmilady____
                                                           Suzanne Elmilady
                                                           Assistant United States Attorney
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                                                           Houston, Texas 77002
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